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EXHIBIT A

LETTERS OF SUPPORT
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January 25, 2025

The Honorable Carlos Mendoza

United States District Court

Middle District of Florida, Orlando Division
George C. Young Federal Courthouse Annex
401 West Central Boulevard

Orlando, Florida 32801

Re: United States v. Alan Filion,
Case No.: 6:2024-cr-00261(MDFia.)

Dear Judge Mendoza,

My name is Chao, and I am Alan’s older sister. I’m a registered nurse currently working at UCSF, and I’m writing to
share my perspective on Alan’s character and the bond we’ve shared throughout his life. Alan and I have an
interesting relationship, in part because of the significant age gap between us. I was in high school when he was
born, and I helped my parents care for him often, especially during his early years. I remember vividly babysitting
him after school: playing with him, changing his diapers, feeding him, singing him to sleep, and comforting him
when he was upset.

As an infant, Alan had numerous health issues, which required frequent visits to doctors. In many ways, taking care
of him is one of the reasons I decided to pursue a career in healthcare. From a very young age, Alan displayed an
extraordinary intelligence, almost to a fault. He didn’t always express his emotions well, but his intellectual abilities
were evident. He could easily explain concepts like Newton’s laws of motion and was deeply interested in history;
he could recall every battle fought during the Civil War with remarkable detail. At age 12, he scored in the 99th
percentile on both the SAT and ACT, and was even considered for going directly to university.

After college, I took a gap year to help out my parents and ended up taking care of Alan almost exclusively. I drove
him to school, made him meals, helped with homework, and got him ready for bed. I became, in many ways, a
second mother to him. I remember attending his Boy Scout events and school functions, and I always heard nothing
but praise from his teachers. One teacher, in particular, told me that Alan’s curiosity and intelligence were
unmatched by any other student at his grade level.

However, I also noticed that Alan’s exceptional intelligence sometimes made it difficult for him to connect with
peers his own age. I believe his intellectual nature led him to immerse himself in his studies and his own world,
which, at times, left him feeling isolated from other children. Despite this, he has always been kind and responsible. I
recall a time when he tried to start a GoFundMe campaign to raise money for a science project to help the less
fortunate. Even as a young teenager, he showed compassion and a desire to make a difference. When I adopted a
puppy, Alan took an active role in caring for her—feeding her, walking her, and playing with her regularly. It’s these
smal] acts of kindness that define Alan as a person.

Despite his current situation, I want to emphasize that Alan is an exceptional individual. He is a loving brother who
has had a significant impact on my life. While we have our differences, perhaps due to the age gap or differing
interests, I know deep down that Alan has a gentle spirit. He may struggle to express himself at times, but his
intentions are always good. I truly believe that the decision made in this case will have a profound effect on Alan’s
future. If given the opportunity to learn from his mistakes, | am confident he will emerge as a better person. The
chance to move forward in a positive direction, rather than be defined by this moment, will give Alan the space he
needs to grow and make things right.

Thank you for taking the time to read my letter and consider Alan’s character.

Sincerely,
Chao Hu
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January 23, 2025

The Honorable Carlos Mendoza

United States District Court

Middle District of Florida, Orlando Division
George C. Young Federal Courthouse Annex
401 West Central Boulevard

Orlando, Florida 32801

Re: United States v. Alan Filion,
Case No.: 6:2024-cr-00261(MDFla.)

Dear Judge Mendoza:

Hi I'm Andrew and I'm a family friend. | first met Alan about 3 years ago while working in his
community as a doctor. He immediately struck me as an exceptionally intelligent and gifted boy. |
mean, the first thing he did after saying hi was pull out a pencil and excitedly start showing me this
clever calculus proof he recently came up with. | could tell this was a teenager who loved learning and
was good at it. Over the next few years and many more family visits, | could see that he was also
hospitable, funny, had vast knowledge on all sorts of subjects, and was ambitious. He was already
taking college courses at 16, acing them, and dreaming of going to UCLA afterwards. In short, as
someone who (like yourself) went through selection processes all my life, | can confidently say that,
compared to the rest of the people his age, Alan had (and still has) one of the absolute highest
potentials to excel and contribute to society. And now, what he does with that potential is up to you.

Of course I'm not saying that he should go unpunished, if indeed he did do all those alleged things
(which I still find strange to believe). However, | think the important question now is how to make all
this unfortunate business into a character-building experience for him, so he can become a productive
member of society instead of learning to resent our society. I'm not perfect either and I'm sure we've
all had our share more or less of teenage misbehaviors. But looks like we turned out alright! And Alan
with his talented intellect will easily absorb whatever lesson we choose to teach, and he can turn out
alright too.

On the one hand, if we choose to lock away the prime years of his life in jail, then that won't
necessarily improve one's character. I've heard that, over time, inmates normalize their jail living, and
when they get out, they've learned two things: to resent the society that put them there, and to not be
afraid of jail again. On the other hand, if we choose a more productive punishment like community
service for example, then he will be learning about redemption and how to contribute to his
community.

Alan's a gifted young man and he's got a long life ahead of him. All I'm asking is that you push him in
the right direction. Thank you.

Sincerely,

Andrew Hui
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January 19, 2025

The Honorable Carlos Mendoza

United States District Court

Middle District of Florida, Orlando Division
George C. Young Federal Courthouse Annex
401 West Central Boulevard

Orlando, Florida 32801

Re: United States v. Alan Filion
Case No.: 6:2024-cr-00261 (MDFia.)

To Honorable Judge Mendoza:

Thank you for the opportunity to submit before you this statement in the matter that brings Alan
Winston Filion before you. | respect that Alan has pleaded guilty to crimes. | write this statement
to present to you information about Alan that otherwise might not be known.

My name is William David Filion, | am the father of Alan. Although married, | live as a single
man here in the City of Lancaster, CA. His mother, currently my legal wife, has resided in
Madison, WI. Alan was somewhere around 10 years old when his mother and | separated. |
raised Alan as a single parent to my son since the separation of his parents. In January 2018 |
took early retirement from a 30 year career in the cement manufacturing industry so that | might
better care for and meet the needs of Alan.

Alan's birth was planned, | was older at the age 46 with his mother at the age 36. Given our age
all family, friends, and associates of his mother and | had long ago raised kids whose ages were
much older than Alan, many of them already in high school or college.

As most younger parents do, near daily visits or strolls were made to the nearby mall including
its kids play court, walmart, target and costco. Alan attended early development classes offered
by our city, followed in later ages with swim and self defense lessons, cub scouts, soccer, and
YMCA for pool access and other activities. These efforts were towards providing developmental,
socialization and interaction skills. He never had or attended sleepovers for kids his age, nor
established friendship connections with other kids his age that reached outside of attended
activities. During his early years and throughout all his school years that include college, Alan
has never initiated visiting another. Likewise, others have never come to visit Alan while home.

Alan attended public schools with exception of his first few school years at an international
boarding school in the province of Hunan, China. His mother and | undertook a business
endeavor of leasing and managing a hotel at her home town, the city of Heng Yang, Hunan.

The hotel business in China was run by his mother while | continued my employment here in
California. Alan stayed with his mother for the duration of the hotel business endeavor. | would
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visit Alan and his mother in China during this time and they would also return for limited visits
here in California. While in China, Alan attended an international boarding school between the
ages of 3 1/2 to 5 1/2 years old. The leased hotel endeavor was unfruitful and short lived. Alan
and his mother returned home to California some two years later where at six years of age he
enrolled in public school to begin 2nd grade. Speaking fluent mandarin, he received english as a
second language instruction during his first year of school in America. All public schooling was
in the state of California except for the 7th and 8th grades where he attended public school in
the City of Chicago, IL. A brief overview of a portion of Alan’s school achievements is provided
at the end of this statement.

Due to marriage difficulties between my wife and |, Alan became estranged from his mother
around the early age of 9 years old. To this day the relationship is one of estrangement

Because he began public school at an earlier age, Alan has always been a year or more
younger than his fellow classmates. During his younger stages of development the age gap
between himself and classmates was measurably evident. The age difference combined with his
exceptional academic performance with intense learning interests, absent the same awareness
level of others around him, caused him to be perceived as odd by his peers, bullied, and with
few exceptions marginalized to that of outcast. This is true for all his school years even into high
school. In spite of all he pressed on. It was and remains a mystery and is testament to his
fortitude the fact that he was elected 8th grade president for his school.

The school Alan attended in Chicago was closed to students when COVID19 struck. Remote
learning at home was mandated for students. Remote learning continued into his high school
years here in California. Whenever any high school students in a class were exposed to another
testing positive they were mandated to stay at home. Each stay at home mandate lasted 10
days. The mandates were numerous and easily exceeded 60 days of remote learning at home.
Having no afore knowledge, | have learned crimes committed by Alan partially overlap and
coincide with the mandated COVID19 stays at home. Churches, parks and most other places of
interest or activity were shut down. With literally no places to go with nothing else to do but
spend more and more time on computer, | am of the opinion, during this time, in Alan’s case that
COVID19 played some part towards undue internet exposure.

While detained in California juvenile detention, in my final visit with him before extradition to
Florida, Alan mentioned an online forum that he had experience with. | do not know all the
details nor how he learned of the forum. The forum comprised an administrator that led the
forum, ambassadors, and attendees. He explained that as an attendee witnessing swat events,
later after suspicion of others participating in the forum of Alan being an FBI agent, he was
pressured to perform duties of an ambassador that performed swat calls while others observed.
While this in itself is concerning, of further concern conveyed to me by Alan is that for the first
time in his life he was recognized by others for having exceptional skills, bringing value with
appreciation, and acknowledgement for abilities with contribution. He had found in the forum
fulfillment of belongingness needs that heretofore were empty and void. He shared that the
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fulfillment of these needs was timely for the reason that a continued deep sadness with thoughts
of suicide were averted.

Finding favor in the eyes of the forum administrator and all other participants, the administrator
took a liking to Alan. This led to Alan being shown the duties performed by the administrator.
Eventually, for the first time to take place within the forum, Alan was promoted by the original
administrator, known as the entity “Torswat’, to substitute in his place for times that OG Torswat
could not attend. Alan had begun sharing administrator duties and performed responsibilities as
alternate “Torswat”. Driven by unmet belongingness needs, susceptibility of young age, with
confluence of other factors mentioned, these all played their part in the commission of crimes
pleaded to by Alan.

The Alan that | know is not that defined by activities leading to his arrest. Alan has never done
and is not known for drugs or alcohol usage in any measure and he has not previously been in
trouble for deeds of any kind nor for divisive issues involving others. He is exceptional in
intellect with longstanding ambition to acquire in his studies a phd. A deep desire of his is to
teach others at university level. Another is to search for and discover potential habitable
exoplanets. Together over the years, at different times here in the City of Lancaster and
Chicago, by my side he and | at random have gifted to homeless individuals in the community
small amounts of money, cooked meals, and donated clothing as they were outgrown or
replaced. He has always demonstrated in the home responsibility for his actions unfavorably
affecting others. Cooperation in providing helpful information to authorities and his admission of
wrongs are a most recent display of continued acceptance for his actions.

Thank you for having allowed this opportunity to present to you facts about Alan that you
otherwise may have not known.

Sincerely,

William David Filion

Brief overview of school related accomplishments:

e Acceptance Offer from UC Berkeley to begin Fall/2024 as 3rd year (age 17) junior
transfer student pursuing a Bachelor's degree major in Physics (received 4/19/2024)

e Attended California Community College, Antelope Valley College campus (Fall/2022 -
Fall/2023) *arrested 01/18/2024 during Spring/2024 session

e Club memberships held while attending Antelope Valley College: Archeology Club for 1%
years (Fall/2022 - Fall/2023) and ASO Diplomat Officer position for % year that included
attending college board meetings including decision of funds distributed to varying

Student body entities (Fall/2023) *arrested 01/18/2024 during Spring/2024 session
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e Attended Quartz Hill High School, Lancaster CA (Fall/2020 - Spring/2022)
“Attended college after completing 2 years High School

e 1st Place Individual Junior Varsity Mathlete award among 8-11 local participating high
schools in his second year of high school (09/17/2021)

@ 99 percentile ranking both SAT [1520/1600] and ACT [34/36] when 12 years old (2019)

e Junior High School class president 8th grade year, Robert Healy Elementary School,
Chicago IL (Fail/2019 - Spring/2020)

e Voluntary Junior Safety Patrol service and leadership role responsible for monitoring
sidewalks and areas with high student traffic before and after schoo!. Patrol members
selected for their leadership, courtesy, dependability, interest in their job, attitude toward
others, and scholastic standing. Robert Healy Elementary School, Chicago IL (Fall/2018
~ Spring/2020)

e Chicago Junior Mathematics League, individual mathlete and school mathlete team
competitions. Robert Healy Elementary School, Chicago IL (Fall/2018 - Spring/2020)

—continued below—
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8th Grade Campaign Flyer Designed by Alan

